                     AEE
         Case 1:08-cv-00396            Document 5          Filed 01/17/2008
       U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                                      Page 1 of 1
                                                                                                 FILED
                       ATTORNEY APPEARANCE FORM        JANUARY                                        17, 2008
                                                                                           MICHAEL W. DOBBINS
                                                                                        CLERK, U.S. DISTRICT COURT
NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court¶s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

In the Matter of                                                           Case Number:
                                                                                                 08 C 396
WILLIAM E. DUGAN, et al.
   v.
RIVERBEND EXCAVATING, INC.,
an Iowa corporation                                   JUDGE HOLDERMAN
                                                   MAGISTRATE JUDGE MASON
AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
WILLIAM E. DUGAN, et al., Plaintiffs herein




NAME (Type or print)
Patrick N. Ryan
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
           s/ Patrick N. Ryan
FIRM
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ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                         YES   ✔           NO


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                        YES               NO    ✔

ARE YOU A MEMBER OF THIS COURT¶S TRIAL BAR?                          YES               NO    ✔

IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?                        YES   ✔   NO


IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL                  APPOINTED COUNSEL
